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 1
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 5
      ATTORNEY FOR Defendant
 6    SAY ENG
 7

 8                            IN THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF CALIFORNIA
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                                                    ******
10    UNITED STATES OF AMERICA,                       Case No.: 1:13-CR-00136-8 AWI
11                    Plaintiff,
                                                        REQUEST TO EXONERATE BOND AND
12            v.                                        RETURN PASSPORT WITH ORDER
13    SAY ENG,
14                    Defendant.
15

16            Defendant, SAY ENG, by and through her attorney of record, Anthony P. Capozzi,
17    hereby requests that the following property posted as collateral in the above referenced matter
18    be exonerated and the Deed returned.
19            1.      Patrick Chim, Deed No. 2013-0777559 – Docket #144 (filed May 28, 2013).
20            2.      Return of passport to Say Eng. Passport number 499505540 was surrendered on
21    May 20, 2013 (Docket # 125) pursuant to court order.
22            Respectfully submitted,
23

24    DATED:        December 13, 2016          By: /s/Anthony P. Capozzi
                                                   ANTHONY P. CAPOZZI
25
                                                   Attorney for SAY ENG
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                                   REQUEST TO EXONERATE BOND AND RETURN PASSPORT
                                            CASE NO.: 1:13-CR-00136-8 AWI
     Case 1:13-cr-00136-DAD-BAM Document 431 Filed 12/14/16 Page 2 of 2
 1                                   ORDER

 2             IT IS HEREBY ORDERED that the property bond posted is exonerated and the clerk of
 3    the court is ordered to return the defendant’s passport.
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 5    IT IS SO ORDERED.
 6    Dated:    December 14, 2016
                                                   SENIOR DISTRICT JUDGE
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                               REQUEST TO EXONERATE BOND AND RETURN PASSPORT
                                        CASE NO.: 1:13-CR-00136-8 AWI
